                 Case 1:24-cr-00031-RP            Document 15          Filed 04/10/24       Page 1 of 2


                               UNITED STATES DISTRICT COURT
                                                         for the
                                                 Western District of Texas
                                                     Austin Division

                United States of America                       )
                           v.                                  )
                                                               )    Case No. 1:24-cr-31-RP
               Frank Richard Ahlgren, III                      )
                        Defendant                              )

                                ORDER OF DETENTION PENDING TRIAL
                                             Part I - Eligibility for Detention
     On Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), the Court held a detention hearing and
found that detention is warranted. This order sets forth the Court ’s findings of fact and conclusions of law, as required by
18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.


                             Part II - Analysis and Statement of the Reasons for Detention

       After considering the factors set forth in 18 U.S.C. § 3142(g), the pretrial services report, and the evidence and
arguments of counsel presented at the detention hearing, the Court concludes that the defendant must be detained pending
trial because the Government has proven:

     By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
     the safety of the community.

  X By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
    the defendant’s appearance as required.

     In addition to any findings made on the record at the hearing, the reasons for detention include the following:

      X Weight of evidence against the defendant is strong
        Subject to lengthy period of incarceration if convicted
        Prior criminal history
        Participation in criminal activity while on probation, parole, or supervision
        History of violence or use of weapons
        History of alcohol or substance abuse
      X Lack of stable employment
        Lack of stable residence
        Lack of financially responsible sureties
        Lack of significant community or family ties to this district
      X Significant family or other ties outside the United States
        Lack of legal status in the United States
        Subject to removal or deportation after serving any period of incarceration
        Prior failure to appear in court as ordered
        Prior attempts to evade law enforcement
                                                                                                                    Page 1 of 2
                  Case 1:24-cr-00031-RP             Document 15           Filed 04/10/24      Page 2 of 2

           Use of alias(es) or false documents
           Background information unknown or unverified
           Prior violations of probation, parole, or supervised release

                                          Other Reasons or Further Explanation:

        My decision is based on the identified factors and the findings made on the record at the detention hearing. The

Government seeks to detain Mr. Ahlgren based on a serious risk that he will flee pursuant to 18 U.S.C. § 3142(f)(2)(A).

Mr. Ahlgren appeared in court on a Writ of Habeas Corpus Ad Prosequendum from state court custody, where he has been

confined since October 26, 2023 for eight separate acts of civil contempt. In this court, a grand jury has indicted Mr. Ahlgren

on seven counts of filing false tax returns and structuring deposits to evade currency transaction reporting requirements.

Based on the testimony and evidence presented at the detention hearing, the Court finds that the weight of the evidence

against Mr. Ahlgren is strong. Additional evidence was presented that he has access to millions of dollars in Bitcoin and

very strong ties to the country of El Salvador, where his wife lives and works and where he has traveled approximately 17

times since 2021 using three different passports. Considering the nature and circumstances of the alleged offenses and

Mr. Ahlgren’s history and characteristics, the Court finds that the Government has met its burden to show by a

preponderance of the evidence that no condition or combination of conditions will reasonably assure his appearance as

required. Pursuant to the Court’s finding that the relevant factors under 18 U.S.C. § 3142(g) weigh in favor of detention,

the Government’s Motion for Detention of Defendant (Dkt. 6) is GRANTED.


                                         Part IV - Directions Regarding Detention

        The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated

representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving

sentences or being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on request of an attorney for the Government,

the person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an

appearance in connection with a court proceeding.




Date:      April 10, 2024
                                                                Susan Hightower
                                                                United States Magistrate Judge

                                                                                                                      Page 2 of 2
